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                             Report of Gary D. Haston

Case assessment of ALEK SCHOTT, Plaintiff, v. JOEL BABB, in his individual and
official capacity; MARTIN A. MOLINA III, in his individual and official capacity; JAVIER
SALAZAR, in his individual and official Capacity; and BEXAR County, Texas,
Defendants.
                                         Request for Evaluation
       My name is Gary Haston. I have been requested by Blair Leake with the law office
of Wright & Greenhill PC to use my experience, training and professional judgement to
evaluate the above styled case and render independent professional opinion on narcotic
enforcement and criminal interdiction, as related to the traffic stop, roadside interview,
policy and training relative to Deputy Joel BABB’s action in connection with Alek Schott.
       My opinions are based on the documents, recordings, and sworn depositions,
provided to me in this case to date, as well as my experience, training, education and
research in the field of law enforcement. Should any additional information be
forthcoming, I reserve the right to amend my report.
                               My qualifications as an expert witness
      I retired from the Williamson County, Texas Sheriff’s Office after serving more than
30 years of service in the field of public safety.
        I began my career as a Firefighter/ Emergency Medical Technician (EMT) with the
City of Mexia Fire Department in 1988 before becoming a Paramedic with the East Texas
Medical Center Emergency Medical Services (ETMC-EMS). In1992, and while working
as a Paramedic, I attended the police academy working as a Reserve Police Officer
before becoming a paid full time Police Officer with the City of Crockett, Texas in 1994.
While working the streets of Crockett, Texas, I was afforded the opportunity to attended
hundreds of hours of training in the field of narcotics while working for the Crockett Police
Department.
       During the early 1990’s a then new form of training known as drug interdiction was
being taught within law enforcement. I attended many courses related to drug interdiction,
which has evolved, and now often called criminal interdiction. Law enforcement applied
the techniques to many other crimes utilizing transportation during the commission of an
offense.
        I was a Paramedic until 1995 when offered a position with the Round Rock Police
Department (RRPD). I was initially assigned to Patrol before being transferred to the traffic
unit responsible for enforcing traffic law and crash investigations. I utilized my pervious
interdiction training interdict drug summers using IH-35 as a smuggling route.




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        At RRPD I was tasked with organizing a new team for the purpose of drug
interdiction, to increase the effectiveness of narcotic investigations for the agency. During
the same time frame in 1997, the Williamson County, Texas Sheriff’s Office recruited and
hired me for a Criminal Interdiction position assigned to the Capitol Area Narcotic Task
Force (CANTF). CANTF was attached to the Texas Narcotic Control Program (TNCP)
and one of more than forty-five (45) Drug Task Forces operating in Texas having been
funded through the State of Texas Governor’s Office. The task forces focused on narcotic
enforcement primarily in areas where smaller police agencies had poor staffing, or
minimum training in the field of narcotic enforcement.
       At CANTF I was tasked with creating an effective drug interdiction team to focus
on the major drug smuggling routes within the seven (7) county jurisdictional area
including IH-35, IH-10, and US Highway’s 71, 77, 79, 183 & 290. As a result, the CANTF
increased seizures of drugs and became one of the top five (5) producing task forces in
the state.
       Through hundreds of drug investigations and interviews of drug couriers, I gained
experience and knowledge about Mexican Drug Cartels. I received specialized training
related to interview techniques, kinesics, communication analysis and intelligence
increasing my training and experience in the profession. We expanded interdiction efforts
to other forms of transportation such as AMTRAK and Mexican Bus companies, which all
were found to have been heavily utilized to smuggle contraband by the Cartels.
       In the late 1990’s I transitioned into an undercover capacity at CATNF increasing
my knowledge about the street and mid-level drug trade. During my undercover operative
operations, I made hand to hand deliveries of Marijuana, Cocaine, Methamphetamine,
Heroin and many other substances. I filed criminal cases in both state and federal courts,
having the ability to direct file cases in the federal judicial courts though the United States
Attorney’s Office in the Western District of Texas. I regularly filed cases in the State District
Courts of Travis, Williamson, Hays, Bastrop, Fayette, Lee and Caldwell County resulting
in many hours of experience within the judicial system. I have testified in both state and
federal courts on many occasions, having not only been a witness in my own cases, but
also as an expert witness for narcotic cases by other officers.
       In the early 2000’s I was reassigned from the CANTF to the United States
Department of Justice, Drug Enforcement Administration (DEA) at the Austin Regional
Office (ARO) where I gained a better understanding of the drug industry through the use
of complex conspiracy investigations. I competed the federal Task Force Officer (TFO)
training becoming a sworn federal DEA-TFO capable of operating within the policy and
procedures of DEA.
       I investigated cases that led to Title III Wire Intercepts, was familiar with
investigative techniques that would fall under the Racketeer Influenced and Corrupt
Organizations Act (RICO) and investigated international complex conspiracy
investigations originating both North and South America.


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        My duties as a DEA-TFO included being an undercover operative during cartel
level investigations. I assisted local and state officers, conducting controlled deliveries
when necessary, taking what would have been one person charged with a traffic stop to
an entire drug cell charged through 18 U.S.C. 371. The knowledge and experience gained
at DEA enhanced my understanding of the drug industry having been an interdiction
officer, an undercover officer and having investigated complex conspiracy cases at a
federal level.
        In late 2004 I was reassigned to the Williamson County Sheriff’s Office Narcotic
Unit. In that role, I used my experience and understanding of policy and procedures from
the state and federal task forces, which resulted in a promotion to Sergeant in 2009. The
unit increased staffing, including the addition of a dedicated Lieutenant, an analyst
assigned from the Texas National Guard Counter-Drug Division, and a full-time
interdiction group. The county narcotic became an efficient and well-established group in
respect to drug enforcement.
       I am a member of the Texas Narcotic Officers Association (TNOA). I was appointed
as a training coordinator and the state conference coordinator before I was nominated to
the state board of elected positions to include, Regional Vice President, State Sergeant
at Arms, and in 2011-2012 elected by my peers to be President of the second largest
association of narcotic investigators in the nation. As President of the Association, I was
responsible for the overall operations, leading the 18-member state board, developing by-
laws, reviewing and approving contracts with conference centers, approving training
instructors for annual training conferences and ensuring that narcotic officers within the
United States were able to network with narcotic investigators in Texas.
       In early 2016 a new administration for the Williamson County Sheriff’s Office
restructured the agency and I was reassigned as a Sergeant of a traffic unit. As a first line
supervisor, I ensured the new policies were distributed, understood and implemented by
the officers, they properly documented reports and that they proactively investigated
leaving the scene collisions. In addition to traffic enforcement, I encouraged deputies to
look further into traffic stops to detect other crimes.
       In 2018 I placed first on the Lieutenant list where I was promoted and assigned to
the Patrol Division night shift. As a lieutenant I was responsible for ensuring the Patrol
Sergeants had the necessary equipment for their officers, that they properly reviewed
reports of their subordinates, provided important information for the administration, and
that every officer in the group maintained a professional work ethic.
       As a Lieutenant having experience evaluating, creating and restricting groups, I
was tasked to oversee the Canine (K9) unit which had a lead trainer and four dual certified
canines. The unit was restructured with a Sergeant, the addition of a drug and explosive
detection canine. As part of my duties, I focused on the improvement of offense, training
and statistical reporting by the deputies, the success of the Sergeant and the overall
Standard Operating Procedures (SOP) for drug enforcement and tracking.


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       I was later reassigned to a newly created administrative position as Lieutenant to
the Sheriff where I worked closely and supervised the Public Information Office (PIO). I
was responsible for networking with the Division Commanders to ensure the accurate and
consistent flow of information, attended meetings with business leaders, politicians and
assisted the Sheriff with special events in the community.
       In 2020 I was promoted to the position of Commander assigned to the Criminal
Investigations Division (CID). The Division included groups working Crimes Against
Persons, Crimes Against Property, the Organized Crime Unit (OCU), Criminal Interdiction,
Auto Theft, Crime Scene Unit, Analyst Unit and Cold Case Unit. I was responsible for the
overall operations for the investigative units within the agency.
       I am, or have been, a member of the International Association of Chiefs of Police,
the FBI Law Enforcement Executive Development Association, International Criminal
Interdiction Association and the Texas Narcotic Officers Association.
        I have been certified through the Texas Commission on Law Enforcement as a Law
Enforcement Instructor and retired having a Master Peace Officer Certification. My
training included the certification in the use of Radar/LiDAR, and as a Law Enforcement
Mobile Video Instructor. I have been certified through the United States Department of
Justice, Drug Enforcement Administration (DEA) for Clandestine Laboratory
Investigations and completed the Ground Development Executive & SWAT Commander
Drug Unit Program. I have been certified as an instructor for the United States Department
of Transportation- Drug Interdiction Assistance Program (DIAP) and the El Paso
Intelligence Center (EPIC) Pipeline and Jetway programs.
        I have attached a copy of my CV to this report which gives you a summary of my
training and experience. I have been certified as an expert witness during criminal trials
in Federal and State Courts in the area of police narcotic enforcement. I have not
rendered opinions related to civil cases in the past, therefore this is my first civil case to
render an expert opinion on. I am confident in my ability to be considered an expert related
to criminal interdiction and narcotic enforcement by law enforcement officers related to
this civil case.




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                                            Research and Review
As part of the review of this case I researched and reviewed:
    1) Texas Transportation Code- Title 7; Section 545.060 Driving on Roadway Laned
        for Traffic
    2) Texas Code of Criminal Procedure
    3) Devenpeck v. Alford, 543 U.S. 146 (2004)
    4) Terrell v. Allgrunn, 114 F.4th 2024 (5th Cir. 2024)
    5) The State of Texas v. Sheila Jo Hardin PD-0799-19, 9 (2022) Decided November
        02, 2022
    6) Daniel v. State (2024) Decided February 14, 2024 Failure to Drive Within Lane
    7) Rodriguez v. United States, 575 U.S. 348 (2015) Extension of Traffic Stop
    8) Pennsylvania v. Mimms 434 U.S. 106 (1977) Driver Must Exit Vehicle
    9) Terry v. Ohio 392 U.S. 1 (1968)
    10) Wren v. United States 517 U.S. 806 (1996) Pretext Traffic Stops
    11) United States v. Rederick, 2023 WL 3014781 (8th Cir. 2023)
    12) Bexar County Sheriff’s Office Policy Manual & Procedures
            a. Chapter 16-Warrantless Search & Seizure
            b. Chapter 17- Stop & Frisk
            c. Chapter 23- Crash Investigations and Traffic Enforcement
            d. Chapter 43- Pursuits and Stop Techniques
    13) Depositions;
            a. Alek SCHOTT (taken 06-13-2024)
            b. Deputy Joel BABB (taken 07-15-2024)
            c. Deputy Martin A. MOLINA III (taken 04-18-2024
            d. Deputy Joe GEREB (Vol.1 taken 02-27-2024; Vol.2 taken 08-01-2024)
            e. Captain Aaron Von Muldau (taken 07-17-2024)
    14) Videos;
            a. Private dashcam of Alek SCHOTT
            b. Body worn camera (BWC) Joel BABB
            c. BWC Deputy Joe GEREB
            d. Exhibit #50-Patrol car video dated 04-12-2022 of telephone conversation
               between Joel BABB and Sergeant Gamboa
            e. Alek SCHOTT Deposition video (taken 06-13-2024)
            f. BWC Deputy Martin A. MOLINA III
            g. You Tube Video by the Institute for Justice dated June 06, 2023
            h. KENS5 News Report airing June 07, 2023
    15) Bexar County Report BC172- Citation Detail Report for Alek SCHOTT
    16) Bexar County- SPEARS Incident Summary: BCS220059233
    17) Bexar County- Incident Detail Report 2022-0082748
    18) Bexar County Incident Reports
            a. BC017409-17432 (2022)
            b. BC017492-17526 (2021)

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           c. BC017527-17557 (2021)
           d. BC017998 BCSO Asset Seizure Case Summaries
    19) Bexar County Citation Data Spreedsheet.xlsx
    20) Bexar County Sheriff’s Office Internal Affairs Reports
           a. BC11508-11510 Order of Dismissal dated 06-07-2024
           b. BC11511 Response to Grievance dated 06-26-2024
           c. BC11705-11824 Investigation into Allegations of Moral Conduct
              Supplement
    21) Bexar County Training Documents
           a. BC11512-BC11570 Texas Commission on Law Enforcement Standards
              (TCOLE) Training Course Documents
           b. Deputy BABB 0001-0043 Training & Interdiction Certificates
    22) New Jersey Office of the State Comptroller Investigation into the private Law
       Enforcement Training Company NJ Criminal Interdiction, LLC dba Street Cop
       Training- dated 12-06-2023
    23) Original Complaint for Declaratory, Injunctive, and Retrospective Relief, Civil
       Action No. 5:23-cv-706 filed in the Western District of Texas-San Antonio Division

                                            Sequence of Events
       On March 16, 2022 Deputy Joel BABB #1604 was working in an official capacity
with the Bexar County, Texas Sheriff’s Office, was a certified Texas Peace Officer sworn
by Sheriff Javier SALAZAR and authorized to enforce the Texas Transportation Code
within Bexar County, Texas. Deputy BABB was assigned to an Organized Crime Unit
(OCU) working in a uniformed capacity in a marked Tahoe police vehicle focusing on
human and drug trafficking that commonly utilized IH-35 as a smuggling route from south
Texas and Mexico.
         While working in the southern part of Bexar County, Deputy BABB conducted a
traffic stop on a 2019 Ford F-250 truck bearing Texas license plate (LP) LJR-4135 on IH-
35 near mile marker (MM) 135 at 11:16AM. The Ford F-250 was owned, registered to and
driven by Alek Joseph Schott.
       Prior to the traffic stop Deputy BABB utilized a messaging program called What’s
App to receive information that the 2019 F-250 displaying Texas (LP) LJR-4135 was
northbound on IH-35 from Carrizo Springs, a city located in south Texas. The Source of
Information (SOI) relayed to Deputy BABB that the truck had been identified having
unusual traffic patterns, including having left Houston the day before, was in Carrizo
Springs, Texas overnight, and was returning to Houston utilizing IH-35 through Bexar
County. In addition, Deputy BABB was provided information that the truck had been at a
hotel, had been tracked in tandem with an unidentified secondary vehicle and the driver
had been with a female. The SOI relayed to Deputy BABB the truck frequently drove from
Houston, Texas to various points in south Texas which could’ve been indicative the truck
used to smuggle contraband to Houston, Texas. In addition, Deputy BABB had
information through the Vigilant License Plate Reader (LPR) data that the license plate

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had been scanned in Fayette County, Texas traveling westbound from Houston the
evening before.
       Deputy BABB parked in the median between the east frontage road of IH-35 and
the northbound main lanes where he was clearly visible to traffic approaching the patrol
vehicle. Just after 1100HRS Alek Schott approached Deputy BABB traveling northbound
on IH-35. A video camera was installed on the windshield in the F-250 driven by Schott
which captured the conditions on the date, time, speed, road, traffic conditions, sounds
and positioning of not only the F-250 on the roadway, but also the position of Deputy
BABB upon its approach to the patrol vehicle.
       After passing the patrol unit Alek Schott was stopped in the 16400 block of south
IH-35 by Deputy BABB for a violation of the Texas Transportation Code, Title 7; Section
545.060 Driving on a Roadway Laned for Traffic. Schott immediately stopped as required
by law and approached by Deputy BAB from the passenger side of the F-250.
         Deputy BABB identified himself, the agency he worked for and the reason for the
traffic stop, that being failure to drive in a single lane by drifting over the fog line. Deputy
asked if he was good, with Schott replying that he has stayed in a hotel the night before.
Deputy BABB asked for a driver’s license, said that he would be issuing a warning and
asked weapons in the F-250. Schott reply was “I don’t think I have one”, immediately
followed by “I’m really sorry about that”.
       Deputy BABB informed Schott that he wanted him to step out, sit in the passenger
seat of the patrol vehicle to be issued the warning citation, thanking him as Schott
complied. Deputy BABB walked to the driver’s side of the F-250 observing Schott exit the
vehicle and walk to the rear where he raised his hands at chest level upon him seeing
Deputy BABB come from the rear of the truck. Deputy BABB asked Schott if he minded
that he gave him a quick pat down for which Schott complied by again raising his hands
and turning his back to Deputy BABB.
       Deputy BABB entered the driver side of the patrol unit placing his BWC on the
dash to capture the entire front seating area. Schott entered the passenger side of the
vehicle closing the door as Deputy BABB asked how Schott was doing that day. Schott
replied that he “did not come that way often” in response to the question.
        Deputy BABB began typing information into the in-car computer, sometimes
referred to as a Mobile Date Terminal (MDT) where the ticket writing software was
installed. Schott appeared to have visible deep and rapid breathing noticeable by the
deep rise and fall of his chest and opening his mouth with respirations including tightening
his lips on several occasions, that in itself could be construed as nervous behavior of a
person receiving a traffic citation, however in this case Deputy BABB had indicated the
infraction would be a warning.
      During conversation with Schott, Deputy BABB asked about his work and where
he had been traveling from as a result of the trip. Schott hesitated with an ‘Uhhhh- Carrizo

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Springs with a lower pitch to his voice. Schott also informed Deputy BABB that he had
stayed at a Holiday Inn Hotel overnight due to the distance of the trip. Schott appeared to
had become more comfortable as he made a joke that he didn’t feel any smarter after
staying at the Holiday Inn, that being a marketing commercial for the hotel chain.
      Deputy BABB explained to Schott the outcome of the traffic infraction would be a
warning as he entered information on the MCT, at one point with Schott replying that he
appreciated the warning. Conversations continued as Deputy BABB continued to
communicate via text messing with the SOI who had given him the original information.
Conversations referencing Human Smuggling by Deputy BABB resulted in Schott making
the comment “Oh my God” and rubbing his face.
        While Deputy BABB continued to input information, Schott initiated conversation
asking personal questions such as where Deputy BABB was from and the amount of time
he had lived in Texas. Deputy BABB responded to the questions before redirecting the
conversation towards sleepy drivers and the dangers of falling asleep verses intoxicated
driving. Schott volunteered information that he had a new born baby, therefore “that didn’t
help”, insinuating that the lack of sleep could cause sleepy driving.
       Deputy BABB continued to text the SOI and asked clarifying questions regarding
the work trip, asking if the equipment sold was delivered and whether anyone had traveled
to Carrizo Springs with him. Schott indicated the test equipment had been delivered and
that he met someone in Carrizo Springs for the installation.
       Deputy BABB continued to solicit criminal history information, which Scott denied.
When Deputy BABB commented about information regarding Schott’s driver license
history, he asked about the emergency contact listed on his driver’s license return, asking
about his wife and mother being such contacts.
        Deputy BABB asked Schott for consent to search the F-250 which Schott denied
by saying “I prefer not”. As a result of the denied consent, Deputy BABB called via radio
for a canine unit to respond to the scene to conduct an open-air search around the vehicle.
On two occasions Deputy Babb explained to Schott the plan to utilize a canine. Schott
shook his head up and down in the gesture and agreed by saying ok the first time and
gave a clearer understanding the second time by saying the only reason he was saying
“no”, meaning to the consent to search, was due to his law classes. Schott further
explained his hesitation due to a person potential dropping a joint into the truck during an
oil change as an example. Deputy BABB informed Schott that in cases where people
deny consent and later decide to give consent, he would continue to wait for a K9 as to
avoid coercion issues with the voluntariness of the consent
       During the eighteen (18) minutes for the arrival of the canine Deputy BABB gave
examples of previous traffic stops and his military service including three (3) deployments
during war as Schott began to look at his watch indicating the desire to leave and at one
point made the comment that he wished he had turned his truck off. Deputy BABB offered
to turn the ignition off and before doing so, ensured that he was being given permission

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to enter the truck. Additional unsolicited comments by Schott were about the difficulty to
speed, presumably being the speed limits was 75 mph, a conflicting comment considering
the 84 mph speed his truck was traveling as captured on the video from his dash cam
leading up to the traffic stop.
       Prior to the canine arriving and during continued texting conversations Deputy
BABB asked clarifying questions regarding the person Schott met in Carrizo Springs, as
to the meeting having occurred at the actual job site or at a hotel. Deputy BABB was
clearly communicating with someone within a law enforcement capacity who was in south
Texas.
       Deputy Molina then arrived with his K9 and met with Deputy BABB. Deputy BABB
made comments to Deputy Molina that the F-250 was off of “one of those things,” and
that he didn’t want to “say too much” but it was the one “he had been looking for”, that
“they had been tracking it”. Deputy BABB invited Deputy Molina to talk with Schott prior
to using his K9 which he did.
       Deputy Molina briefly spoke with Schott asking if he has a problem with him running
his K9 on the F-250. Schott replied by shaking his head side to side as an indication of
no while he verbally replied “no”. Deputy Molina confirmed the consent by asking “its,
ok?”, with Schott shaking his head up and down in the motion meaning yes. The final
question was if the dog was going to find any drugs that he knew about for which Schott
again shook his head and replied “no”.
       During the K9 search Deputy BABB continued to communicate via telephone with
the SOI regarding the events transpiring on the traffic stop. After completing the telephone
call and opening the driver side door, Schott told Deputy BABB that he was surprised that
Deputy MOLINA asked for permission to use the dog, indicating Deputy MOLINA in fact
asked for permission to search the truck with the dog.
       Without any verbal confirmation from Deputy Molina that the dog had given a
positive alert, Deputy BABB asked Schott to move from the front seat to the back seat
explaining that he was being detained. Schott complied with all direction given by Deputy
BABB without any change in demeanor one way or another. Schott was compliant, non-
argumentative and didn’t challenge the positive K9 alert.
       Deputy BABB approached Deputy MOLINA near the front driver’s door of the F-
250 where a conversation between the two confirmed that Deputy MOLINA did in fact get
a positive alert by the K9. Deputy BABB made comments that Schott was defeated and
that he hoped whatever was in the truck was not in a compartment. Deputy MOLINA
relayed to Deputy BABB his reasoning for the decision to call the alert positive, such as
“the windows were down and the dog followed the odor to the ditch”, “he kept messing
with the center console”, but before that he” hit the truck hard and started barking
indicating he wanted in there bad”. Deputy MOLINA walked the K9 back to his patrol unit
and joined Deputy BABB with a physical search of the F-150.


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       During the search Deputy MOLINA discovered after factory wiring within the dash
that he continued to track while Deputy BABB discovered an after factory rear seat locking
mechanism. In addition to the wiring and seat lock, the deputies had difficulty gaining
entry into the closed bed cover on the F-150. Deputy BABB requested the assistance of
Schott who agreed to help them access the bed of the truck but not before some damage
may have occurred.
        During the search by the three (3) deputies and after Schott assisted by opening
the back seat and bed cover, Schott remained outside of the patrol unit and moved freely
in the grass area. During the latter part of the search SCHOTT approached Deputy BABB
asking about using the restroom. Deputy BABB pointed toward his patrol unit and can be
heard saying “Yeah that’s fine” indicating Schott could open the door and relieve himself
with the cover of the door. Scott is observed on the BWC of Deputy Gereb contacting
Deputy Babb, freely walking to the patrol unit and opening the front passenger door.
       Deputy BABB, MOLINA and Gereb continued to search the truck eliminating areas
where false compartments were commonly discovered. The deputies were assisted with
the search by Deputy Joe Gereb for a short period of time, and from his BWC he had
observed marks in the dust in the engine compartment for which he commented upon
considering the possibility of an engine compartment but little, if any involvement with the
investigation.
       Deputy BABB followed up with Schott before terminating the search. Deputy BABB
communicated with Schott as to the concerns regarding after factory additions he had
seen while searching the F-250. Schott was able to relay to BABB that the wiring and
switch on the dash was to mute a radar detector when it was activated and the red cable
at the back seat area was added to release the latch to allow for access behind the seat.
These were all reasonable explanations for the tampering the deputies had found.
       Deputy BABB, Molina and Gereb concluded they were unable to find any
contraband in the F-250. Deputy BABB met with Schott returning his driver license and
copy of warning citation offering to help put anything back together that they had moved.
Schott told Deputy “No” indicated he did not need help. Prior to leaving, Deputy BABB
continued to help Schott by closing the bed cover, giving information about the
documentation of the traffic stop and search utilizing the incident number and notes within
the Computer Aided Dispatch (CAD).
       The traffic stop was terminated by Schott telling Deputy BABB “I appreciate ya”,
Deputy BABB saying “Thank you sir, I appreciate it” and Schott replying “Have a good
day”. Deputy BABB documented on the BWC the stop was terminated with a warning
issued.


                                   Review Standard and Methodology



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       I evaluate the appropriateness of police conduct and procedures on a case-by-
case basis. To ensure my methodology and opinions are reliable, I do not assign any
credibility to witnesses or other sources of information prior to my review of the material
provided to me in this case. I developed my understanding of relevant facts only after
review of the provided material. I analyzed those facts against professional law
enforcement training standards and general accepted practices, tactics, and procedures
recognized, relied upon and used within law enforcement. Generally accepted policing,
standards, tactics and procedures are established by collective training and experience
of practitioners, academic research, court decisions, after action reviews and state
mandated law enforcement training.
        In determining whether the actions or decisions of the involved officer(s) are
consistent with generally accepted police practices, I apply the reasonable police officer
standard of officers based on training and experience in order to objectively evaluate the
totality of the circumstances. The standard asks what information was knowable to the
involved police officer(s) at the time the decision at issue was made, and not from 20/20
hindsight. Consideration is given to the fact that at times, officers are required to make
split-second decisions in dangerous situations and rapidly evolving circumstances. In this
case, an interdiction stop of a vehicle was made as it was traveling from south Texas—a
known source of contraband smuggled into the United States—and Houston, Texas,
which is a known destination of contraband smuggled by Mexican Drug Cartels.
        An officer’s decisions and actions are analyzed based on what a reasonable law
enforcement officer trained on generally accepted policing practices would do in the same
or similar circumstances. Officers are trained that they need probable cause before they
initiate a stop or an arrest. An officer has probable cause if there is a probability or
substantial chance of criminal activity, but probable cause does not require an actual
showing of such activity. An officer has probable cause if the historical facts and events
leading up to the arrest, viewed from the standpoint of an objectively reasonable officer,
support a showing of probable cause. An officer’s subjective beliefs about probable cause
are irrelevant to the inquiry, all that matters if the action taken with the circumstances,
when viewed objectively, justify that officer’s actions.
        This analysis is consistent with the methodology utilized by other experts in the
field of law enforcement when analyzing incidents of this type. My expertise regarding
generally accepted police policy and procedures, tactics, and narcotic enforcement are
relevant areas of testimony that would assist a jury in understanding the information
presented to them.
       I am familiar with and instruct narcotic courses regarding complex conspiracy
investigations and criminal interdiction. I study and use as a resource when providing
instruction to officers, federal court decisions of the United States Supreme Court,
informed by, and consistent with, accepted research regarding law enforcement protocol.
While I do not propose to offer any opinion on the law or case law, because my duties
involve training law enforcement officers I often study and use judicial rulings.

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       I am not an attorney and nothing in this opinion should be considered as a
“legal” opinion or to infringe on the role of a fact finder. Any reference, in my opinion,
to law, is for purpose of illustrating how the law is interpreted in the law enforcement
profession, how it is taught to officers, and how a reasonable officer might be expected to
comport his or her behavior with the profession’s understanding of the law.
       If I am called to testify at trial in this matter, I will use my knowledge of case
law to offer opinions about the standard of care applicable to the law enforcement
profession, but I will do so without reference to case law. I will also refrain from
quoting verbiage from case law.
                                   Observations and Expert Opinion
        In order to render my opinions, it is important to re-capture some of the events
relative to Schott and Deputy BABB. The complete summary of facts is documented within
the report. As part of the case review, certain language within Bexar County Sheriff’s
Office policy has been documented to outline relevant situations, however only pertinent
sections of the policy have been written for reference.
        I analyzed Officer BABB’s actions under the standard of how law enforcement
officers are trained to respond to generally comparable situations, with the understanding
that all situations are different and unpredictable. My objective analysis involves
evaluating how any well trained and reasonable law enforcement officer, not just Deputy
BABB, could reasonably be expected to respond, when faced with similar circumstances
that existed at the time.
Evaluating training specific to Criminal Interdiction:
       Texas police officers must complete the Texas Commission on Law Enforcement
(TCOLE) certified training to be commissioned as a peace officer in Texas. Deputy BABB
had met the minimum standards to be a Peace Officer according to TCOLE, and held a
Master Peace Officer Certification, as well as the Basic Instructor Certification. In addition,
according to the TCOLE training records, Deputy BABB had 324 hours of TCOLE credited
training related to specialized law enforcement related to Narcotics, Criminal Interdiction,
Interview Techniques, Human Smuggling, Gangs, and Linguistic Analysis. (DEF BATES
BC11565) dated 07-08-2024
       I was provided fifty-three (53) certificates of training, specific to Narcotic Training,
where Deputy BABBS had either attended in person, online or via webcast during the
time frame of January 2000-April 2022. The number of certificates compared to the
TCOLE training records indicated several training certificates were not submitted to
TCOLE for continuing education credit, however, it was law enforcement training provided
by both government and private training companies that was either taken online, in person
or via webcast, and completed by Deputy BABBS.
        It is common practice and accepted within the law enforcement profession that an
officer attend training outside of the agency, then distribute pertinent tactics to peers. I

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know from my experience and training that criminals consistently change methods of
operation to avoid detection by law enforcement, having a diverse catalog of training is
relevant, providing such training meets certain criteria and accepted by the agency. As
common practice within law enforcement a supervisor or training officer should approve
request for either departmental or outside training, to include evaluate the curriculum to
ensure the instructor and company are properly vetted and pertinent caselaw or tactics
being presented align with department expectations.
        While reviewing the training certificates provided to me, Street Cop Training
Company was a provider of training to Deputy BABB, as documented with eight (8)
certificates of completion, one dated October 04, 2021 for the Street Cop Conference in
Atlantic City, New Jersey. Unbeknownst to the attendees, an investigation by the New
Jersey Comptroller’s Office into the company NJ Criminal Interdiction Training, LLC dba
Street Cop Training had been underway for substandard training techniques,
unprofessionalism and unethical behavior by the instructors. The report was published in
December 2023. (New Jersey Office of the State Comptroller Investigation into the private
Law Enforcement Training Company NJ Criminal Interdiction, LLC dba Street Cop
Training- dated 12-06-2023)
       Several instructors were named within the New Jersey State Comptrollers report
including Dennis Benigno, Kenny Williams, Brad Gilmore and Shawn Pardazi, each
having presented blocks of instruction at the 2021 MVCI Conference in San Antonio,
which Deputy BABB attended prior to the 2021 Street Cops Conference in New Jersey.
(BABB 0004)
      Only one (1) of eight (8) certificates issued to Deputy BABB, titled The Street-Smart
Cop/Proactive Patrol Tactics (1 Day Course), from Street Cop Training was reported to
TCOLE for continuing education credit, that being reported by Hays County Sheriff’s
Academy on March 23, 2021. (BABB 0034)
       As part of my research and review of training certificates for Deputy BABB, Shawn
Pardazi, the instructor and owner of Global Counter-Smuggling Training Consultants,
LLC., presented a 32-hour training course titled Smugglers, Inc., September 01-04, 2020,
which was reported by Parker County, Texas Sheriff’s Office and was attended by Deputy
BABB. (BABB 0010)
       I have not reviewed any training syllabus, lesson plans or detailed training
curriculum for any course presented by Street Cop Training, Global- Counter-Smuggling
Training Consultants, or any other provider of law enforcement instruction to Deputy
BABB. I know from my experience instructing criminal interdiction courses that officers
only retain information they believe will be relevant and conform the policies of their
respective agency. The training provided by instructors associated with Street Cops
Training were only a small percentage of Criminal Interdiction training Deputy BABB had
received from other training providers, none of which had controversy, to included; the
Kendall County Sheriff’s Office; the OSS Academy; Professional Law Enforcement


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Training (PLET); Desert Snow; Regional Counterdrug Training Academy’; Midwest
Counterdrug Training Academy; Lower Rio Grande Valley Academy’ Bexar County
Sheriffs Office; and the United States Department of Transportation-Federal Motor Carrier
Safety Administration. Mike Tamaz, the instructor for 720 Interdiction, was an instructor at
the MCVI Conference in San Antonio, but not found to have been part of Street Cops
Training, nor has any controversy regarding his curriculum.
        Peace Officer’s develop professional opinions related to their duties from many
sources, both from government and private companies, which provide knowledge,
equipment and software for law enforcement agencies. As a result, police officers retain,
utilize and implement knowledge, developing a preference, or unique style, when working
Criminal Interdiction. It is common practice for peace officers to analysis and apply
applicable knowledge choosing their style of enforcement from all, a part, or not any of
the information received from a training source.
       An officer will tend to develop one or more styles related to traffic enforcement. On
a major highway, such as IH-35 with multiple divided lanes, an officer may drive slower
than traffic in the right lane watching traffic through mirrors as they approach, or may park
clearly visible in the grass median where the approaching traffic can see them. Each
method causes a reaction to people, particularly with people committing crimes, when
seeing the marked patrol unit.
       It has been by experience that both methods are effective. When working in a
police vehicle and traveling in the right lane at a reduced speed, cars will clearly slow
down and not pass the patrol unit, sometimes even when reducing speed, the vehicle
being watched continues to slow. An officer performing this method watches the vehicles,
not necessarily directly behind them, but those with buffer cars in between. It has also
been my experience when parked in the grass median, cars will suddenly slow down,
even if not speeding, and many times will change from the right lane to the left without a
vehicle occupying the lane in front of them, subconsciously needing to create additional
distance from the patrol unit. The driver may look away from the direction of the officer,
place both hands on the steering wheel and grip tightly, look directly at the officer and
have an exaggerated wave or emotional reaction.
        On many occasions once past the marked patrol unit, the vehicle will continue to
fall back from the other traffic that already increased speed and continued. It has been
my experience, and a common for those enforcing traffic law, to see the driver of a vehicle
continuously check mirrors to see if the patrol unit will leave the stationary position,
causing a reaction and cross over either the solid yellow or the broken white lines dividing
the lanes of travel. From my experience and training I know that vehicles are commonly
used during the commission of crime and they behave differently than the general public
when encountering a marked police unit.
      Reviewing the one (1) minute video captured from the F-250 driven by Schott on
March 22, 2022, Deputy BABB was parked in the grass median with his patrol unit clearly


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visible to Scott as he approached. In the deposition of Deputy BABB taken on July 15,
2024 (P00053 Pg75) he had intentionally parked in that manner to look for behavioral
changes as vehicles approached his marked patrol unit. He wanted people to see his
presence and wanted his vehicle to appear as a “billboard” so that he could watch for
changes of the driver’s behavior, as his training and experience had proven to be true in
the past.
       Deputy BABB observed Schott approach in the F-250, displaying the correct
license plate, traveling the indicated direction on the highway during the correct time
frame it took to travel from Carrizo Springs to the 135mm on IH-35. A reasonable officer
with the same experience would have perceived credibility of the information received
from the SOI in similar situations upon confirmation the vehicle existed.
Probable Cause- Texas Transportation Code
       My opinion regarding the probable cause for the traffic stop was formulated from
my training, having completed the courses of Basic Radar Certification (09/1994) Radar
Lidar Certification (11/2006), Mobile Video Instructor Certification (08/1999) and Digital
Evidence Recovery (05/2010), as well as experience conducting traffic stops beginning
in 1992 resulting in having stopped thousands of cars for violations of the Texas
Transportation Code.
        According to the deposition of Deputy BABB, he testified that he observed the F-
250 as it approached and that the front left tire crossed the solid yellow line and that once
behind it the tires hit the line again but he didn’t remember the number of times. The
actual offense found in the Texas Transportation Code 545.060 (a)(1), of Driving on
Roadway Laned for Traffic [1] which reads; An operator on a roadway divided into two or
more clearly marked lanes for traffic: (1) shall drive as nearly as practical entirely within
a single lane; and (2) may not move from the lane unless that movement can be made
safely.
       There wasn’t a video from the dash camera of the patrol unit driven by Deputy
Babb to review, however the one (1) minute video recorded from the F-250 provided by
Scott was available and reviewed. Cameras and technology have improved, not only law
enforcement, but also in vehicles for civilian use. The accuracy of content recorded would
be a concern as it could be manipulated or edited and not be the actual footage. A video
may have been edited using software if a person had knowledge or experience to do so,
therefore all, some or none of the footage may be accurate. My opinion based from the
video provided by Schott is that the video had some form of manipulation, or it wasn’t the
entire video depicting the incident as it was only one (1) minute in duration, and ended
abruptly while Schott was mid-sentence in a telephone conversation.
         The video depicts a camera appearing to be mounted on the windshield just to the
left of the rearview mirror on the driver side of the F-250, which was confirmed through
the testimony reviewed in the deposition of Schott. The F-250 was in the left lane of the
highway with a solid yellow line to the left, and a broken white stripe to the right. There

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were indentions in the asphalt which began several inches to the left of the yellow line
with asphalt visibly seen from the edge of the yellow line, to the beginning of the
indentions in the asphalt. A black colored vehicle was situated to the right and in front of
Schott, traveling in the right lane. Several car lengths in front of the black vehicle and in
the right lane, was a tractor trailer with the name Amazon on it. In front of the F-250 Schott
was driving, a Chevrolet truck was positioned in the left lane, and in front of the Amazon
truck. The Chevrolet truck and Amazon truck appeared to be approaching a slight curve
in the road that veered right.
        Traffic traveling southbound on the opposite side of IH-35 and damaged steel
barrier cables with orange paint was observed, indicting a prior crash had occurred in the
center median. Data displayed on the screen reads 03/16/22; 11:12:18; 84 mph; HDR;
Blackvue; DR900S; UHD/FHD. From my training and experience the Global Positioning
Satellite (GPS) within the video system calculated and displayed within the video the
vehicle traveling 84 mph when the video begins.
The hood of the F-250 is dark in color and had distinct contour lines that curve toward the
center of the hood. The roadway had a yellow line to the left and a broken white line to
the right. The distance from the yellow line to the contour line was symmetrically close to
the distance from the broken white stripe to the adjacent contoured line, which would
indicate Scott was within his lane of travel. During the next one minute the distance
between lines change on several occasions.
        At 11:12:26 Schott rapidly passed the black vehicle in the right lane, then the
Amazon truck which was several car lengths ahead. According to the distance of the right
line on the hood in relation to the yellow line, in my opinion, Schott swerved to the left in
the curve as he passed the Amazon truck at 84mph. I reviewed the posted speed limit on
that portion of IH-35, which was deemed to be 75mph maximum speed for the condition
of the roadway. The Chevrolet truck traveling in the same lane as Schott changed to the
right lane as Schott approached.
       In relation to tires and striping being recorded on video at the same time, it was
non-existent, therefore my opinion is based solely on my experience and training having
instructed law enforcement officers on the use of mobile video during my career and from
what I reviewed on the video as part of this case.
        At 11:12:28 a “beep beep” is heard, believed to be the sound of a radar detector,
followed by a rapid increase of sounds as he approached Deputy BABB who was parked
in the grass median. At 11:12:31 Deputy BABB could be seen from the perspective of the
video traveling 83mph according to the GPS on his truck.
       As Schott approached at 11:12:49, Scott received a telephone call, just before
passing Deputy BABB, slowed to 72mph never regaining speed after passing the patrol
unit. Schott continued the telephone conversation passing a Ford truck. A noticeable
change in position of the yellow line in relation to the contour line was observed, and
depicted from 11:12:56 to 11:12:59 in the video. At 11:13:13 and during the phone

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conversation, Schott overtook the Ford truck at which time the left contour line was
completely over the broken white line, potentially at an unsafe distance to the truck in the
right lane. There wasn’t a video depicting the exact location of the Ford truck traveling to
the right of Schott as he passed. At 11:13:19 Schott is verbally heard saying “Oh Crap”
as the video and audio abruptly ended during his conversation.
        After reviewing the video recorded by Schott and from the testimony of Deputy
BABB in his deposition, a reasonable officer would believe that Schott crossed the yellow
line before approaching Deputy BABB, and after passing Deputy BABB he crossed the
broken white line in proximity to the Ford truck traveling in the right lane. Despite Deputy
Babb not articulating the offense, a reasonable officer could also believe from the video
that Schott committed the traffic violation of failure to drive in a single marked lane, and
that it was done in an unsafe manner. A reasonable officer could also believe that Schott
had committed the traffic violation of speeding.
       According to documents and videos provided by Schott to support his position, the
video would be relevant to the case and the recording in its entirety could support his
point of view associated with the probable cause of the traffic stop. Having a partial video
that abruptly ends before an officer conducts the traffic stop questions the validity of his
position relevant to the traffic violation. According to the Internal Affairs documents
reviewed in this case, Deputy BABB was terminated from employment with the Sheriff’s
Office as a result of a second investigation into contact with Schott. The justification for
termination stemmed from the fact his dash camera was not activated to record the traffic
stop and that Bexar County Internal Affairs found reason to believe he was dishonest in
the reasoning behind the circumstances. I was not asked to form an opinion related to the
patrol camera not being activated.
        It is relevant to research case law of similar situations when either instructing a law
enforcement course or formulating an opinion. According to Texas case law, titled The
State of Texas v. Sheila Jo Hardin PD-0799-19, 9 (2022) to stop a car based on failure to
maintain lane, an officer must reasonably believe that the lane was not maintained and
that this failure to maintain was unsafe. In the case at hand, I am of the opinion that a
reasonable officer could have believed Schott did not drive in a single lane and that the
offense was unsafe as he first passed the Amazon truck and secondly as he passed the
Ford truck before being stopped by Deputy BABB.
        A reasonable officer could have believed Schott was violating more than one traffic
violation as recorded on his dash camera. As previously mentioned, Deputy BABB was
parked stationary in the grass median watching traffic. Not only would Deputy BABB have
been able to see a vehicle cross lines to guide traffic, but he would have been able to see
Schott speeding as he rapidly passing slower traffic as he approached.
       An officer who uses a speed measuring device, such as a radar, must also visually
confirm a vehicle is speeding in order to conclude the number displayed on the radar is
accurate, which over time and experience, effectively creates the ability to determine an


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approximate speed of a vehicle before using a radar. As depicted in the video, Schott
rapidly passed slower traffic which would have led a reasonable officer to conclude he
was going faster then the majority of other traffic and traveling over the posted speed
limit.
       Accordingly, a reasonable officer in Deputy BABB’s position would have had the
above articulated probable cause to pull over Schott based on the reviewable historical
facts.
Reasonable Suspicion
        On Wednesday March 16, 2022 Deputy BABB was working in a uniformed
capacity, assigned to the Organized Crime Unit (OCU) of the Bexar County Sheriff’s
Office. Deputy BABB was authorized to enforce traffic law, as well as investigate other
felony level offenses such as Human Smuggling and Narcotic Crimes within the
jurisdiction of Bexar County, Texas. Deputy BABB had been provided and had access to
Policy and Procedures authorized by Sheriff Javier SALAZAR, the elected Sheriff, through
a department program identified as Power DMV.
        Deputy BABB had 324 credited TCOLE hours of specialized training regarding
human smuggling, street level, mid-level narcotic and limited exposure working high level
investigations. According to the deposition taken of Deputy BABB, he commonly worked
with an investigative unit indicating he had a higher degree of understanding than a patrol
officer who was solely responsible for traffic enforcement or patrol. Deputy BABB was
looking for a specific vehicle, the F-250 driven by Schott, for which he believed was part
of an ongoing investigation by an agency other than the Bexar County, Sheriff’s Office.
Having such prior information and developing independent probable cause for a traffic
stop would be considered a pretext traffic stop and subject to case law titled; Wren v.
United States, 517 U.S. 806 (1996) Pretext Traffic Stops.
16.01- Chapter 16, titled Warrantless Search and Seizure;
        H.) Reasonable Suspicion- An officer’s rational belief, based on credible and
        articulable information and circumstances, that something may be true (e.g., that
        an offense may have occurred or that a particular person may have committed an
        offense).
      Upon review of the documents provided to me and 16.01 of the BCSO Policy, it is
reasonable to believe that an officer with the same experience, training and under the
same circumstances would have concluded they had Reasonable Suspicion to ask for
consent to search the F-250 driven by Schott.
        After review of the video and deposition of Deputy BABB I concluded from my
experience and training, as would any reasonable officer with the same training and
experience as Deputy BABB, that reasonable suspicion existed to ask for consent to
search the truck. My opinion is not based on hindsight or on the outcome of the search,
but in respect to what Deputy BABB believed at that time. A reasonable officer in the same

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situation as Deputy BABB, having knowledge of narcotic investigations and criminal
interdiction could articulate the following reasons existed;
        1) Deputy BABB had prior knowledge about the description, color, and license
           plate of the vehicle.
        2) F-250 had been scanned by an LPR in Fayette County traveling westbound on
           IH-10 the night before.
        3) Deputy BABB was told by a member of a law enforcement texting group, the
           F-250 had frequent traffic patterns to and from south Texas on multiple
           occasions.
        4) Deputy BABB was told that the F-250 was possibly traveling in tandem with a
           secondary vehicle during trips to south Texas, which in his training and
           experience led him to believe the truck make be being used to smuggle people
           or drugs.
        5) On March 22, 2022, Deputy BABB was informed via messaging app the F-250
           left Carrizo Springs at a specific time utilizing IH-35.
        6) Deputy BABB observed the F-250 driven by Scott on IH-35 confirming
           information received through the messenger App.
        7) Scott reacted to the marked police vehicle in a manner Deputy BABB had seen
           from people committing crimes in the past. *In my expert opinion Schott was
           reacting to the marked patrol unit due to traveling over the posted speed limit
           at 84 mph in a 75-mph zone after having eight (8) previous encounters with law
           enforcement for traffic violations. (DEF BATES BC 008337)
        8) Deputy BABB conducted a traffic stop for failure to drive in a single marked
           lane.
        9) A permanently installed bedcover was installed on the F-250 which was
           commonly associated with vehicles used to smuggle people.
        10) Upon contact on the passenger side of the F-250 Deputy Babb greeted Schott
           explaining the reason for the stop, asking if he were “good”, receiving the
           response from Schott that he stayed in a hotel the night before, which further
           supported the accuracy of information Deputy BABB had previously received.
        11) Deputy BABB asked Schott if there were weapons in the F-250, receiving the
           response, “I don’t think I have one”, which in combination with prior information,
           confirmation of truck, person and route, would lead a reasonable officer to
           conduct a Frisk or (Pat Down) for Safety. Terry v. Ohio (1968)
        12) Deputy BABB requested Schott exit the vehicle and meet him at the rear at
           which time Deputy BABB walked from the rear of the truck observing Schott lift
           his arms to chest level without being instructed. Such reactions in combination
           with the #1-11 continue to support a Frisk, (Pat Down) of Schott.
        13) Deputy BABB asked Schott to be seated in the passenger side of the patrol
           unit as he entered the driver’s side, placing his body camera on the dash in a
           manner to record the events inside the police unit where Deputy BABB greeted
           Schott by asking how he was doing today, receiving an out of context answer
           that he, meaning Schott, did not come down that way very often.

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        The events identified as #1-13 detail a specific set of details, that under the same,
training, level of experience and conditions, would have led a reasonable officer to
believe the traffic stop warranted further investigation and would have asked for
consent from Schott to search the F-250 before Deputy BABB initiated the front seat
interview. In my opinion a reasonable officer would have recognized within the first three
minutes and thirty-two seconds (3:32) of the traffic stop that Deputy BABB had reasonable
suspicion to ask for consent to search the F-250 and continue to the investigation,
therefore circumstances written in the court’s opinion in the case of Rodriguez v. United
States, 575 U.S. 348 (2015) Extension of Traffic Stop would not be applicable in relation
to the events that transpired during this traffic stop.
       According to the BWC of Deputy BABB, he continued to ask questions of Schott
as he performed several tasks related to not only the completion of the warning citation,
but also communicate information to the SOI regarding the answers being given by
Schott, in order to confirm or deny what he interpreted as deceptiveness.
       I have received training, specifically Kinesic Roadside and Field Interview
Techniques (January 1995), and Practical Kinesic Interview and Interrogation Techniques
(February 1998), Phase II Advanced Kinesic Interrogation Techniques (September 1998),
Kinesic Field Interviews (November 2011), each authored and instructed by Stan Walters
who is a subject matter expert on Interview & Interrogation to John Hopkins University
and had publications presented at the American Psychological Association Conventions
in 2000 & 2002. I utilized the training gaining experience in my ability to detect deception.
I have observed deceptive behavior during roadside and controlled environment
interviews of people. Deceptive answers are answers to make someone believe
something that is not true with some of the characteristics of deceptive answers being:
        1. Analysis of Verbal Behaviors- What we say and how we say it often gives clues
           as to whether our statements are truthful or lying. When a relevant question is
           posed to the subject, the clues are found in;
               a. Voice and speech patterns
               b. Line of thought
               c. And through chosen words and phrases
        Increasing the cognitive load of interviewees during an interview can also make it
more difficult for liars to deceive. This can cause liars to display more observable signs of
cognitive overload, such as pauses, response latencies, change of tone in their voice at
particular times and body movements. As a result of my review of the statements by
Deputy BABB during his deposition, the act of interviewing a person in the front seat of
his vehicle, in combination of certain styled material that was visible, was his way to
increase the cognitive load of Schott in order to gauge deception. The front seat interview
is a style being instructed by instructors and is preferred by many officers. Accordingly,
this style of interview used by Deputy BABB was in accordance with current training.



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        As previously stated, a reasonable officer utilizes pieces of information to develop
a style of enforcement best suited for themselves, and many officers with the same
training and experience prefer to interview people in the front seat of the patrol unit.
Relying on my experience and training regarding traffic stops and interviewing violators,
I disagree generally with the training to use of front seat interview tactics, as it is not
possible to physically or mentally detect deception according to the degree I prefer, or
have used in the past. It would not be my position that front seat interviewing is not
reliable, just that an interviewer commonly is not distracted by telephones, radios,
computers when concentrating on factors relevant to detecting clusters commonly
associated with deceptiveness, all being present inside the patrol unit.
        To accurately detect deception, the interviewer structures an interview, and asks
questions to develop a baseline, or the way a person answers non-threatening questions,
while observing body language, such as facial expressions, finger, hand, and arm, leg
movements. Seemingly non-threatening closed ended questions are asked while
listening to tone and pitch of their voice effectively developing a baseline. An example
would be, “Is the weather nice in Carrizo Springs”, which is a non-threatening question. If
answered yes or no with a constant pitch and audible tone with each non-threatening
question the interviewer would determine the base was yes or no. When asking a question
relevant to a crime, such as “are there any drugs in your car” and the answer changes to
“No Sir” with a change in tone of voice, the interviewer knows to revisit questions related
to drugs again and may ask clarifying questions in attempt to determine the type of drugs
and possibly where it would be concealed in the vehicle.
        It has been my experience, and I know from training that people are deceptive for
many reasons and lie about things not related to the potential crime being suspected. The
interviewer initially doesn’t know why a person lies, just that there was a change in the
way the question was answered and that more questions need to be asked in relation to
the answer given. There isn’t a singular movement, word, or expression that would lead
a reasonable officer to detect deception. It is the combination of verbal and non-verbal
clues during particular time, considered clustering, for which the interviewer detects and
then focuses upon to determine clarifying questions.
        According to the deposition of Deputy BABB, from his training and experience he
believed the changes in tone of Schott’s response required further exploratory questions,
particularly related to the hotel Scott had stayed in, the female he met, and where they
had traveled. Upon review of the video and from my experience and training, Deputy
BABB detected changes in the tone of Schott’s voice, although it was difficult at times to
hear responses to Deputy BABBS questions upon review of the video. It has been my
experience, and from training, that people who smuggle drugs commonly drive great
distances to a source city, stay for a short period of time, meet a person who takes them
to a stash house, load contraband into a vehicle and drive back to the origin without delay,
which a reasonable officer could have believed was the case in this incident.



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       Deputy BABB properly identified and attempted to clarify the discrepancy he
detected regarding Schott meeting a female who was believed to have had either traveled
with, met at the job site or, at the hotel. Compounding the situation was the information
Deputy BABB received that the F-250 had “been tracked” and was in “tandem” with
another vehicle. Officers conducting narcotic investigations would interpret the
information from the SOI as the F-250 was either being driven as a vehicle containing
contraband or a vehicle traveling as a “lookout”, a “scout” or commonly referred to as a
“chase car”.
        It is common for officers working interdiction to encounter vehicles traveling in
tandem while trafficking drugs for Mexican drug cartels. They commonly utilize such
tactics to identify routes, lessen encounters with criminal interdiction units and protect the
contraband being smuggled. It is not unreasonable to believe that Deputy BABB believed
the information from the SOI was creditable and played a significant role in the decisions
he made.
      A reasonable officer with the same training and experience as Deputy BABB would
have believed the situation warranted further investigation to determine if Schott was
transporting Humans or possibly drugs during his travel.
       The Bexar County policy 16.04- A (1) (a) supported BABB’s search of the F-250
driven by Schott.
16.04- Probable Cause Plus Exigent Circumstances Searches. General rule: A
warrantless search may be made where there is probable cause to believe that
contraband, instrumentalities, fruits, or evidence of a crime are present and exigent
circumstances make obtaining a search warrant impractical.
        1. Probable cause search where the facts and circumstances within the knowledge
        of the officer on scene and of which he has reasonable caution and prudence to
        believe that he will find the instrumentality of a crime or evidence pertaining to a
        crime
        a) Factors which, under the circumstances, may give or contribute to probable
        cause to believe that evidence is present in a certain place include information
        from a reliable witness that a short time ago persons in a described vehicle left a
        robbery with stolen property, credible information that a person possesses
        narcotics at a certain location, observation of substance which appears to be
        narcotics, positive indication of narcotics by trained dogs, furtive dropping of a
        matchbox, flight from police, false or evasive answers to question.
C. Vehicle searches: The “automobile exception”; Where there is probable cause to
search a motor vehicle, and exigent circumstances exist, the vehicle may be searched
without a warrant.




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        1. Moving vehicle: Where officers stop a moving, occupied vehicle on a public
        roadway, no further exigent circumstances need be shown this rational applies also
        to a stopped vehicle occupies by a suspect.
        6. If probable cause is directed toward the whole car, all parts of the car may be
        searched. However, probable cause may exist only to search a specific part of the
        car, (for instance, finding a small amount of marijuana in the passenger
        compartment of a car occupied by apparent casual users will not justify search of
        the trunk.)
        Schott denied consent to search the F-250 when asked by Deputy BABB. Deputy
BABB respected the denied consent and did not violate the policy set forth by searching
without the dog alert. While waiting for Deputy MOLINA Deputy BABB is heard
commenting that, had Schott decided to change his mind and then consent to the search,
he would have waited for Deputy MOLINA to use the K9 regardless. The statement
supports the Bexar County Policy B(1) as Deputy BABB wanted to avoid coercion issues
in court in the event evidence was discovered. Deputy BABB acted according to policy
and law. It was only after Deputy MOLINA informed him the drug-dog gave a positive
alert, that created the probable cause to search the truck without the need of a search
warrant.




16.05- Consent Searches
      A. General Rule: A warrant is not required where there is consent to search
because consent waives the constitutional right to a warrant.
        B. Critical Factors:
        1)       Consent must be voluntary, not the result of duress or coercion, express or
                 implied. Voluntariness is determined from all the circumstances.
                 g.) There is no requirement that a Miranda warning be given prior to
                 obtaining consent to search.
Upon review of the BWC of Deputy BABB, he was in accordance with in order to frisk
Schott for weapons, as the initial response to the question about weapons was
concerning as was the demeanor identified by Deputy BABB upon Schott exiting the
truck.
16.09- Frisk for Weapons


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A. General Rule: If an individual is lawfully, temporarily detained (for example, during a
traffic stop upon reasonable suspicion), and if the officer has reason to believe he is
dealing with an armed and dangerous person, he may conduct a limited search for the
sole purpose of finding weapons.
        1. It is essential that the officer have reason to believe that he is dealing with an
        armed and dangerous person; the sole justification for the search is protection of
        the officer and others nearby.
        2. But he need not be absolutely certain the person is armed; it is enough that a
        reasonably prudent man could believe that he or another were in danger.
        3. Factors which may combine to give an officer reasonable belief that a person
        detained is armed and dangerous include furtive gestures, bulges in clothing,
        lateness of the hour, dangerous neighborhood, intoxication, hostility, belligerence,
        and an indication of criminal activity.
                 c.) The officer should be able to express all factors which led him to fear for
                 his safety.
        4. A driver temporarily detained in a vehicle may be ordered out of the vehicle. (Pg
        196) Believed to be a typographical error as a #4 previously is used within this section.

Having experience as a narcotic investigator and as a uniformed officer, I have
experienced and been a part of investigations where uniformed patrol officers utilized
reasonable suspicion alone to stop and frisk either pedestrians, bicyclist or vehicles.
Bexar County Sheriff’s Office Chapter 17-Stop and Frisk provides guidance to the
deputies. According to 17.01 the applicable sections related Deputy BABB’s encounter
would be relevant to his actions on March 22, 2022 during his investigation;
(C)(D)(E)(G)(H)(I).
Chapter 17-STOP AND FRISK
17.01 Definitions
        C. Criminal Activity- Crimes of a serious nature (such as burglary, robbery, or drug
        offense) or crimes involving risk to the safety of a person or property (such as
        public intoxication, threats, or fighting words).
        D. Detention- (stop)- Action by an officer (verbal or physical) which places a person
        under the reasonable belief that he is not free to leave.
        E. Frisk- A weapons search of a person generally limited to a pat down of is outer
        clothing to ensure the safety of the officer and others.
        G. Probable Cause- The total set of apparent facts and circumstances based
        on reasonable trustworthy information which would warrant a prudent
        person (in the position of and with the knowledge of the particular peace


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        officer) to believe something, for example that a particular person has
        committed some offense of the law.
        H. Reasonable Suspicion- An officer’s rational belief, based on credible
        articulable information and circumstances, that something may be true (for
        example, that an offense may have occurred or that a particular person may
        have committed an offense).
        I. Suspect- A person who an officer reasonably suspects of involvement in criminal
        activity.
       Bexar County Sheriff’s Office Chapter 17.04- Stops for Questions is intended to
guide the deputies in such situations. Section (A) authorizes a stop or a pedestrian or
motorist. Section (D) outlines six (6) examples that’s acceptable to stop and question
either a pedestrian or motorist. When analyzing the traffic stop on Schott Deputy BABB,
taking into consideration his training, experience, knowledge of job description,
assignment to the Organized Crime Unit, (OCU), Section 17.04 (B) (1-6) would be
considered relevant.
         Considering the six reasons authorizing a Stop and Frisk by a Bexar County
Deputy, an experienced officer with the same experience, training and having been in the
same situation would be able to articulate the justification to stop and frisk the vehicle
driven by Schott on March 22, 2022. Section (E), In evaluating a person’s suspiciousness,
an officer should rely on his training and experience, which included his knowledge and
or experience in the investigation where 100 people were being smuggled in a tractor
trailer. Similar to a tractor trailer, the F-250 truck had a bed cover concealing a location
where people could have been trapped or located. In the scenario of human smuggling,
safety is priority for the people essentially trapped in a vehicle without a method of escape.
Deputy BABB did not stop Schott merely to stop and frisk, having probable cause for a
traffic violation. Deputy BABB was authorized to conduct traffic stops while in a marked
Bexar County Sheriff’s Office vehicle and did so according to Chapter 23- Crash
Investigations and Traffic Enforcement.
17.04 STOPS FOR QUESTIONS
A. An officer may stop and question a person (including a pedestrian or motorist)
whom he reasonably suspects may be involved in past, present, or imminent future
criminal activity. If the questioned subject refuses to report or falsely reports his name
and residence, the subject cannot be charged with “Failure to Identify” under 38.02(a) of
the Penal Code unless the subject is already under arrest for another charge. However,
the subject can be detained until he is identified. The identification process may include
transport to the BCSO for fingerprinting and photographing. Prior to transport under these
circumstances, the officer must receive authorization from a supervisor.
D. Before an officer stops a person for questioning, he must be able to describe specific
suspicious conduct or circumstances to justify that stop. For Example, the following

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factors (generally a combination of one or more of these or similar factors) might
contribute toward justifying a stop:
        1. The suspect is making evasive or furtive movements;
        2. The suspect fits a “wanted” notice’
        3. The suspect has a felony record (this factor alone is not sufficient);
        4. The suspect is near the scene of a recently committed crime;
        5. The suspect’s actions, clothing, vehicle, or presence appears unusual for
        the time or the place’
        6. The officer observes some other factor or has received information even
        if anonymous which links the suspect to criminal activity.
E. In evaluating a person’s suspiciousness, an officer should rely on his training
and experience.
F. An officer may stop and question a potential witness to a crime if;
        1. The officer reasonably believes that a crime involving danger of forcible
        injury to persons or property or theft of property has just been committed near
        the place he finds such person, and
        2. The officer reasonably suspects that such person has knowledge of
        material aid in the investigation of such crime, and
        3. Such action is reasonably necessary to obtain or verify the identity of such
        person.
H. Subject to subdivision K, an officer may detain a person he lawfully stopped for
the minimum length of time he reasonably needs to;
        1. Verify his identification
        2. Account for his conduct
        3. Account for his presence, and
        4. Ascertain whether a crime occurred.
I. A Miranda is not required during a temporary detention, unless the suspect is subjected
to treatment that is the functional equivalent custodial arrest.
K. Unless he receives authorization from his supervisor, an officer shall release a suspect
if the officer cannot develop probable cause to arrest the suspect within a reasonably brief
period (which will usually not exceed 15 minutes).
      A reasonable officer with the same training and experience and under the same
circumstance could have concluded just as Deputy BABB had, that probable cause

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existed to stop Schott for a valid traffic violation. Deputy BABB asked for and was refused
consent to search the vehicle, utilized Deputy MOLINA to conduct an open-air sniff with
a K9 only searching the vehicle after developing probable cause through a positive alert
by a certified K9. According to Bexar County Sheriff’s Office policy, many of the
circumstances encountered by Deputy BABB would have fallen under Bexar County
Policy for Stop and Frisk. An officer with the same experience, training and under the
same circumstances could reasonably argue the vehicle driven by Scott could have been
stopped for a brief detention to determine if a crime was a foot, in this case Human
Smuggling, had the safety of people been the situation.
       After review of this case as well as having been in similar circumstances, a
reasonable officer could be suspicious and conclude—as Deputy BABB concluded—that
Human Smuggling or narcotic trafficking was a plausible explanation for the information
from the SOI.
       Chapter 23 of the Bexar County Polices was reviewed and according to 23.08
(A);(B) ;(C) and (D) a reasonable officer would conclude Deputy BABB had the authority
to stop Schott on March 22, 2022 for failure to drive in a single marked lane.
Chapter 23- Crash Investigations and Traffic Enforcement
23.08 Uniform Traffic Enforcement
A. The Bexar County Sheriff’s Office traffic enforcement program must achieve a high
degree of uniformity to be acceptable to the public. It is imperative that individuals handled
for identical offenses under similar condition and circumstances be accorded the same
treatment at the hands of the enforcement agency. Non-uniformity in enforcement is
unacceptable. Government employees, including Bexar County employees, are not
exempt from the traffic laws of the state.
B. Uniformed officers in marked units shall be responsible for traffic enforcement, and
shall stop violators and take traffic enforcement action when practical to do so.
C. The goal of traffic supervision by the Sheriff is expediting the flow of traffic with a high
degree of safety. Blind adherence to the letter of the law when it conflicts with this principle
shall be avoided.
D. It is the officer’s responsibility to check for warrants on violations stops.
23.09 Random Stopping of Motorist
A. Officers shall not randomly stop motorists, but will stop vehicles only;
        1. On probable cause to believe, a traffic violation has occurred.
        2. Upon reasonable suspicion or of other criminal activity.
        3. Pursuant to standardized traffic stops such as drivers’ license checks.
        4. Upon other lawful justification such as to prevent a hazard.

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B. Fixed check points for drivers’ license checks and the like may be established where
all vehicles are stopped or vehicles on a neutral systematic basis (such as every fifth
vehicle)
Final Expert Opinion and Conclusion
        After review of the material provided to me and from my experience and training,
it was reasonable to believe that Deputy BABB was practicing standard law enforcement
procedures on March 22, 2022 upon being informed about Schott traveling north on IH-
35. Information from an ongoing investigation by another law enforcement officer was
relied upon, despite the fact Deputy BABB wasn’t informed of specific details. An officer
known to be working a particular area is commonly asked to conduct traffic stops as part
of investigations. Such investigations are often not in the same jurisdiction the officer
works, therefore communication using telephones, networking apps and radios are
common.
        A reasonable officer working in the same capacity as Deputy BABB would believe
that the information provided from the other agencies was true. Reviewing this case
and from my experience and training, the credibility of the information Deputy BABB
was provided was not lessened as a result of him not personally knowing the person
providing said information. A reasonable officer in the same position would have given
credibility to the information, considering it was consistent from training and experience
that the F-250 could have been used to smuggle humans or drugs, between Houston, a
common destination city, and south Texas, a common source of contraband imported
into the United States. The fact no contraband was found has no bearing on what was
knowable to Deputy BABB at the time, and therefore cannot be used from a hindsight
perspective to invalidate the stop.
       Despite Deputy BABB not knowing details, it was reasonable to believe the
information was credible, and had validity with respect to travel patterns, destinations,
and the involvement of a third-party, that being the female at the Holiday Inn. The fact
pattern of the truck not only being at a hotel but having traveled to a remote area where
humans and drugs are commonly staged could lead a reasonable officer to believe the
truck was involved with smuggling. Drug Cartels commonly use a “stash house” in
remote areas to stage dugs and/or humans before they are moved to destination cities.
       I know from my experience and training that Mexican Drug Cartels illegally bring
contraband from into the United States using an array of methods. The contraband is
commonly taken to a location, or a “stash house” where it is concealed until which time it
is concealed in a vehicle and transported to a destination in the United States. A person
used to transport contraband from a stash house in commonly referred to as a “mule”.
The vehicle driven by a mule is relative to the type and size of contraband being
smuggled. In the case under review, a reasonable officer with the same training and
experience as Deputy BABB would have believed the F-250 driven by Schott was cable
of transporting large quantities of drugs and or people.



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        Deputy BABB stopped Schott for Failure to Drive in a Single marked lane, which
from my experience and training was acceptable and valid as recorded on the dash
camera video in Schott’s vehicle. But that was not the only probable cause a reasonable
officer could have perceived to initiate the stop, as Schott was not only traveling 9 mph
over the posted speed limit, but was swerving in his lane, crossed the yellow and broken
white lines and did so unsafely when not only passing the Amazon truck, but also while
on the telephone when he can be heard saying “Oh Crap”.
        A reasonable officer parked in the grass median, while looking for a specific
vehicle, has the ability to see traffic and recognize a particular style from greater
distances. In combination with a photograph such as one from LPR data, and from the
testimony given by Deputy BABB during his deposition, a reasonable officer with
the same training and experience could conclude that Deputy BABB saw the
F-250 as it approached his position, and therefore was able to see Schott drive upon,
or cross the solid yellow line as stated in his deposition.
      Upon initiating the stop and making contact with Schott, a reasonable officer
could have believed Deputy BABB was concerned for his safety, and would have
performed a Frisk. (Pat Down) Officers are trained and know from prior experience
that people involved with drug trade are commonly armed. A reasonable officer with the
same training and experience as Deputy Babb would have directed Schott to exit the
F-250 to conduct the traffic stop for their safety. My research concluded from
Pennsylvania v. Mimms 434 U.S. 106 (1977) Driver Must Exit Vehicle, that directing
Schott to exit the vehicle was performed as a common and acceptable practice in
cases similar to the traffic stop as that conducted by Deputy Babb.


       In the case of Rodriguez v. United States, 575 U.S. 348 (2015) Extension of
Traffic Stop the United States Supreme Court ruled that a traffic stop could not be
unreasonably delayed to develop reasonable suspicion in order to call for a K9 to
search a vehicle. Considering the totality of the circumstances faced by Deputy BABB,
an officer with the same experience and training would believe under the same set of
circumstances faced by Deputy BABB that articulable facts existed, and that further
investigation would confirm or deny the suspicions perceived by Deputy BABB.
        The Fourth Amendment prohibits “unreasonable searches and seizures” by the
Government, and its protections extend to brief investigatory stops of persons or
vehicles that fall short of traditional arrest. Under the Fourth Amendment, a
traffic stop is reasonable if it is supported by either probable cause or an articulable
and reasonable suspicion that a traffic violation has occurred. Probable cause exists
when a reasonable officer, confronted with the facts known to the officer at the time of
the stop, could have believed that there was a fair probability that a violation of the law
had occurred.
      Having experience and training related to Mexican Drug Cartels, I believe a
reasonable officer with the same experience and training when faced with the same set

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of circumstances would conclude that Deputy BABB had prior information about the
vehicle, he had been in communication with a member of law enforcement via a
messaging app, and he continued to communicate details of the encounter as they
transpired as is a common practice for law enforcement when investigating potential
criminal activity.
        Deputy BABB developed an opinion as to probable cause and observed what he
believed were answers, behaviors and observations that established a reasonable
suspicion and justified going beyond the scope of an ordinary traffic stop in order to dispel
or prove a crime was being committed. An officer with the same training and experience
as Deputy BABB would have believed articulable facts for extending the traffic stop were
justified. Rodriguez v. United States focused on extension of a traffic stop in order to
obtain the reasonable suspicion to call for a K9 to search a vehicle which wasn’t
applicable in this case.
         As part of my research, I reviewed United States v. Rederick, 2023 WL 3014781
(8th Cir. 2023) where Larry D. Rederick moved to suppress evidence from a traffic stop,
claiming that the officers unconstitutionally delayed the stop waiting for a drug-dog, and
that the dog’s alert did not provide probable cause to search referencing Rodriguez v.
United States. The 8th Circuit disagreed concluding that law enforcement officers had
probable cause to conduct the traffic stop based on the defendants traffic offense and on
the collective knowledge of the officers conducting the investigation into the defendants
alleged drug dealing; the state troopers who conducted the stop did not illegally prolong
the stop in order to conduct a drug-dog search; the dogs alert was sufficient to alert the
trooper to a positive result and the records showed the dog was reliable; the alert gave
the officers probable cause to search the defendant’s vehicle.
      Presented with the same or similar circumstances, viewing the facts through the
eyes of a law enforcement officer with the same level of training and experience, a
reasonable officer under the same circumstances as Deputy BABB would have
responded in the same way in order to confirm or dispel that a crime was in progress.
       I was not asked to form an opinion related to the Bexar County Sheriff’s Office
Internal Affairs Investigation related to this traffic stop, therefore and opinion related to the
patrol car video camera was not considered. The video provided by Schott, as well as the
BWC of Deputy BABB, MOLINA and Gered provided sufficient video for review to
formulate an opinion as to the events that day.
Expert witness fees
        My fees for the work performed in connection with this case are a flat rate of $3700
for the initial case evaluation and report. Testimony/ Depositions-$ 2000.00 per day all or
part, including time waiting to testify; Testimony/Trial- $2000.00 per day all or part,
including time waiting to testify; Deposition/ trial preparation- $150.00 per hour in addition
to the actual day of either event.


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History of Prior Civil Cases
       I have been deemed an expert in Federal and State court related to criminal
prosecution of interdiction and narcotic enforcement, however, I have not testified in court
or rendered an opinion in the past four (4) years in any criminal or civil proceeding.




                                                                Gary D. Haston




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